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 UNITED STATES BANKRUPTCY COURT 
 SOUTHERN DISTRICT OF NEW YORK 
 ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐ x   
                                                            :  Chapter 11 
 In re:                                                     :   
                                                            :   
          WONDERWORK, INC.,                                 :  Case No.:  16‐13607 (MKV) 
                                                            :   
                                     Debtor.                :   
                                                            : 
 ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐ x   
                                                              
   ORDER CONFIRMING AMENDED CHAPTER 11 PLAN OF LIQUIDATION FOR 
                     THE BANKRUPTCY ESTATE OF WONDERWORK, INC.  
                          AS PROPOSED BY THE CHAPTER 11 TRUSTEE 
                    
                   Stephen S. Gray, not individually but solely in his capacity as the Chapter 

 11  trustee  (the  “Trustee”)1  for  the  estate  (the  “Estate”)  of  WonderWork,  Inc. 

 (the “Debtor”), having filed his Amended Chapter 11 Plan of Liquidation [ECF No. 435] 

 (the  “Plan”)  in  accordance  with  section  1121  of  title  11  of  the  United  States  Code  (the 

 “Bankruptcy  Code”),  together  with  the  Amended  Disclosure  Statement  [ECF  No.  436] 

 (the  “Disclosure  Statement”)  and  the  Plan  Supplement  [ECF  No.  454];    and  upon  the 

 Order  Approving:    (I) the  Disclosure  Statement;    (II) the  Form  and  Manner  of  the 

 Disclosure Statement Hearing Notice;  (III) Certain Key Dates Relating to Confirmation 

 of  the  Plan;    (IV) Procedures  for  Solicitation;    (V) Form  of  Notices  and  Ballot;  




 1     All capitalized terms used herein but not otherwise defined shall have the meanings ascribed to
       them in the Plan.
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 (VI) Procedures  for  Tabulation  of  Votes;    and  (VII)  Form  and  Manner  of  Notice  of  the 

 Confirmation  Hearing  and  Objections  to  Confirmation  of  the  Plan  [ECF  No.  437] 

 (the “Disclosure  Statement  Approval  Order”);    and  the  Court  having  considered:    the 

 Declaration of Stephen S. Gray, the Chapter 11 Trustee, in Support of Confirmation of the 

 Plan [ECF No. 462], HelpMeSee, Inc.’s Statement in Support of the Plan [ECF No. 458] the 

 Joint Statement of MiracleFeet and Resurge International in Support of Confirmation of 

 the Plan [ECF No. 461], and the Declaration of Maximilian A. Ferullo Regarding Voting 

 and Tabulation of Ballots Accepting and Rejecting the Plan [ECF No. 464];  and the Court 

 having held a hearing on September 12, 2018 pursuant to section 1129 of the Bankruptcy 

 Code to consider confirmation of the Plan (the “Confirmation Hearing”);  and upon the 

 modifications to the Plan that were addressed and agreed to at the Confirmation Hearing;  

 and  upon  the  entire  record  of  the  Chapter  11  Case,  including,  without  limitation,  the 

 record  made  at  the  Confirmation  Hearing  [ECF  No.  472],    and  after  finding  that  due, 

 sufficient and adequate notice of the Confirmation Hearing has been provided to holders 

 of Claims and to all other parties in interest herein [ECF Nos. 443, 444, 455 and 459];  and 

 after  due  deliberation  and  good  and  sufficient  cause  appearing  therefor,  and  in 

 accordance  with  the  findings  and  rulings  made  by  the  Court  on  the  record  of  the 

 Confirmation  Hearing,  the  Court  hereby  FINDS,  DETERMINES,  AND  CONCLUDES 

 THAT:  




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                  FINDINGS OF FACT AND CONCLUSIONS OF LAW 

        The findings and conclusions set forth herein constitute the Bankruptcy Court’s 

 findings  of  fact  and  conclusions  of  law  pursuant  to  Bankruptcy  Rule  7052,  made 

 applicable to this proceeding pursuant to Bankruptcy Rule 9014.  To the extent any of the 

 following findings of fact constitute conclusions of law, they are adopted as such.  To the 

 extent any of the following conclusions of law constitute findings of fact, they are adopted 

 as such. 

 I.     Jurisdiction 

        A.     The Bankruptcy Court has jurisdiction over the Chapter 11 Case pursuant 

 to 28 U.S.C. §§ 157(a) and 1334(a).  Venue of these proceedings and the Chapter 11 Case 

 in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.  Confirmation of the Plan 

 is a core proceeding pursuant to 28 U.S.C. § 157(b) and, thus, this Bankruptcy Court has 

 jurisdiction to enter a Final Order with respect thereto. 

 II.    Notice 

        B.     Due, timely, sufficient and adequate notice of the Plan, any modifications 

 to the Plan, the Confirmation Hearing, and the deadlines for filing objections to the Plan 

 has been given to all known holders of Claims and other parties in interest in accordance 

 with  the  Disclosure  Statement  Order,  the  Bankruptcy  Code,  the  Federal  Rules  of 

 Bankruptcy Procedure (the “Bankruptcy Rules”), the local rules for this Court (the “Local 




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 Bankruptcy Rules”) and all other applicable laws, rules and regulations [ECF Nos. 443, 

 444, 455 and 459].  

 III.   Solicitation and Voting Certification 

        C.      On August 10, 2018, the Trustee, through his counsel, caused the applicable 

 forms of ballots in the forms approved by the Disclosure Statement Order (the “Ballots”) 

 and the Solicitation Packages (as defined in the Disclosure Statement Order) to be served 

 and  distributed  as  required  by  the  Disclosure  Statement  Order,  section  1125  of  the 

 Bankruptcy  Code,  Bankruptcy  Rules  3017  and  3018,  the  Local  Rules,  and  all  other 

 applicable rules, laws, and regulations applicable to such solicitation, all as set forth in 

 the Affidavit of Service of Denise Cahir regarding service of solicitation materials filed 

 on June 23, 2017 [ECF No. 444].  The Solicitation Packages were transmitted to all holders 

 of Claims entitled to vote on the Plan and sufficient time was prescribed for holders of 

 Claims  to  accept  or  reject  the  Plan.    The  transmittal  and  service  of  the  Solicitation 

 Packages and Ballots was adequate and sufficient under the circumstances and no other 

 or further notice is or shall be required. 

        D.      Votes  on  the  Plan  were  solicited  in  good  faith  and  in  compliance  with 

 sections  1125  and  1126  of  the  Bankruptcy  Code,  Bankruptcy  Rules  3017  and  3018,  the 

 Disclosure  Statement,  the  Disclosure  Statement  Order,  the  Local  Rules,  and  all  other 

 applicable rules, laws, and regulations applicable to such solicitation. 




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 IV.   The Plan 

       E.      As  modified  herein,  the  Plan,  and  the  transactions  and  agreements 

 contemplated  thereunder,  are  in  full  compliance  with,  and  therefore  satisfy,  the 

 requirements of section 1129 of the Bankruptcy Code. 

       F.      Bankruptcy  Rule  3016.    The  Plan  is  dated  and  identifies  the  persons 

 submitting it, thereby satisfying Bankruptcy Rule 3016(a).   

       G.      Plan Compliance with Bankruptcy Code (Bankruptcy Code section 

 1129(a)(1)).  As required by section 1129(a)(1) of the Bankruptcy Code, the Plan 

 complies with all applicable provisions of the Bankruptcy Code. 

               i.      Proper  Classification  (Bankruptcy  Code  sections  1122  and 

                       1123(a)(1)).  The  classification  scheme  of  Claims  in  the  Plan  is 

                       reasonable and complies with the requirements of sections 1122 and 

                       1123(a)(1) of the Bankruptcy Code.  Article III of the  Plan  contains 

                       four (4) separate classes of Claims (other than Claims  of  the  type 

                       described  in  section  507(a)(2)  of  the  Bankruptcy  Code 

                       (Administrative  Expense  Claims)  and  section  507(a)(8)  of  the 

                       Bankruptcy Code (Priority Tax Claims) that are addressed in Article 

                       II) based on factual and legal  differences  among  the nature  and 

                       treatment of  the  Claims.  Each  Class  contains  only Claims that are 

                       substantially  similar  to  each  other.   Thus,  valid  business,  factual 



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                        and  legal reasons  exist  for  the  classification scheme  created  under 

                        the  Plan.    Additionally,  all  Claims  in  any  particular  Class  are 

                        sufficiently  related  to  one  another  such  that  no  “unfair 

                        discrimination”  exists  between  the  holders  of  Claims  and  no 

                        holders  of  Claims  will  receive  more  than  they  are  legally  entitled 

                        to receive for their respective Claims. 

               ii.      Specified  Treatment  of  Unimpaired  Classes  (Bankruptcy  Code 

                        section 1123(a)(2)).  As required by section 1123(a)(2), Article III of 

                        the  Plan  specifies  that  Classes  I  and  II  are  Unimpaired under  the 

                        Plan. 

               iii.     Specified Treatment of Impaired Classes (Bankruptcy Code section 

                        1123(a)(3).  As required by section 1123(a)(3), Article III of  the Plan 

                        specifies that Classes III and IV are Impaired under the Plan. 

               iv.      No Discrimination (Bankruptcy Code section 1123(a)(4)).  Consistent 

                        with section 1123(a)(4) of the Bankruptcy Code, unless a holder of 

                        Claim has agreed with the Trustee to a less favorable treatment, the 

                        Plan  provides  the  same  treatment  for  each  Claim  in  a  particular 

                        Class. 

               v.       Implementation  of  the  Plan  (Bankruptcy  Code  section  1123(a)(5)).  

                        As required by section 1123(a)(5) of the Bankruptcy Code, the Plan 



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                      provides adequate means for its implementation as required under 

                      section 1123(a)(5) through, inter alia:  (a) the appointment of the Plan 

                      Administrator  to  complete  the  wind  down  of  the  affairs  of  the 

                      Debtor,  liquidate  any  remaining  assets,  and  ultimately  make 

                      Distributions to holders of Allowed Claims;  (b) the Plan Settlements 

                      (defined  below)  between  the  Trustee,  on  the  one  hand,  and,  HMS 

                      and  the  Thompson  Family  Foundation,  each  respectively,  on  the 

                      other;    (c) the  creation  of  the  Litigation  Trust  to  pursue  certain 

                      Causes  of  Action  and  to  distribute  any  funds  realized  by  those 

                      actions to those holders of Allowed General Unsecured Claims who 

                      have  made  the  Litigation  Trust  Election;  (d) the  Sales  and  Grants 

                      involving  substantially  all  of  the  Debtor’s  remaining  Assets;    and 

                      (e) the  procedures  governing  the  allowance  of  Claims  and 

                      Distributions. 

               vi.    Nonvoting Equity Securities  (Bankruptcy  Code section 1123(a)(6)).  

                      As a not‐for‐profit corporation, the Debtor does  not  have  the  power 

                      to  issue  non‐voting  equity  securities  (or equity  securities  of  any 

                      kind).   Accordingly, section 1123(a)(6) is not  applicable to the Plan. 

               vii.   Interests of Claim Holders (Bankruptcy Code section 1123(a)(7)). The 

                      Plan  is  a  plan  of  liquidation,  and  does  not  provide  for  the 



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                       appointment of officers, directors, and trustees of the Debtor.  The 

                       provisions  of  the  Plan  regarding  the  continuing  existence  of  the 

                       Debtor and the appointment of a Plan Administrator and Litigation 

                       Trustee  are  consistent  with  the  interests  of  the  Debtor,  holders  of 

                       Claims, relevant parties in interest and public policy. 

               viii.   Personal  Earnings  of  Individual  Debtor  (Bankruptcy  Code  section 

                       1123(a)(8)).  As the Debtor is not an individual, Section 1123(a)(8) of 

                       the Bankruptcy Code is inapplicable. 

               ix.     Additional  Plan  Provisions  (Bankruptcy  Code  section  1123(b)).  

                       Consistent  with sections 1123(b) of the Bankruptcy  Code,  the Plan 

                       also  provides  for  the:    (a)  rejection  or  assumption  of  executory 

                       contracts and unexpired leases;  (b) settlement of various Claims and 

                       controversies;  (c) retention, and transfer to the Litigation Trust, of 

                       certain Causes of Action;  and (d) certain release and/or exculpation 

                       of certain parties. 

        H.     Trustee’s Compliance with the Bankruptcy Code (Bankruptcy Code section 

 1129(a)(2)).  As required by section 1129(a)(2) of the Bankruptcy Code, the Trustee has 

 complied  with  the  Disclosure  Statement  Approval  Order  and  all  of  the  applicable 

 provisions  of  the  Bankruptcy  Code,  including,  without  limitation,  the  disclosure  and 

 solicitation requirements of sections 1125 and 1126 of the Bankruptcy Code. 



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        I.      Plan  Proposed  in  Good  Faith  (Bankruptcy  Code  section  1129(a)(3)).    As 

 required by section  1129(a)(3)  of the  Bankruptcy  Code,  the  Plan  has been  proposed  in 

 good faith and not by any means forbidden by law. 

        J.      Payments  for  Services  or  Costs  and  Expenses  (Bankruptcy  Code  section 

 1129(a)(4)).  As required by section 1129(a)(4) of the Bankruptcy Code, any payment made 

 or to be made by the Trustee on behalf of the Estate for services or for costs and expenses 

 in connection with this Chapter 11 Case, other than those incurred in the ordinary course 

 of business, has been approved by this Bankruptcy Court.  Each Professional who holds 

 or asserts a Professional Fee Claim for services provided through the Confirmation Date 

 is  required  to  obtain  final  Bankruptcy  Court  approval  prior  to  receiving  payment  on 

 account of such Claim (to the extent such Claim was not previously approved on a final 

 basis by the Bankruptcy Court). 

        K.      Best  Interests  Test  (Bankruptcy  Code  section  1129(a)(7)).    As  required  by 

 section  1129(a)(7)  of the Bankruptcy Code, except  to the  extent  a  holder  has agreed  to 

 different  treatment,  each  holder  of  a  Claim  will  receive  or  retain  under  the  Plan  on 

 account of such Claim property of a value, as of the Effective Date, that is not less than 

 the  amount  such  holder  would  receive  or  retain  if  the  Estate  were  liquidated  on  the 

 Effective Date under Chapter 7 of the Bankruptcy Code. 

        L.      Acceptance  by  Certain  Classes  (Bankruptcy  Code  section  1129(a)(8)).  

 Classes I and II are Unimpaired by the Plan and, therefore, under section 1126(f) of the 



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 Bankruptcy Code, are presumed to have accepted the Plan.  Classes III and IV, the only 

 Impaired Classes entitled to vote on the Plan, have voted to accept the Plan.  Accordingly, 

 the requirements of section 1129(a)(8) of the Bankruptcy Code are satisfied. 

        M.      Treatment  of  Administrative  Expense  Claims  and  Priority  Claims 

 (Bankruptcy  Code  section  1129(a)(9)).    Consistent  with  section  1129(a)(9)  of  the 

 Bankruptcy  Code,  the  Plan  provides  for  the  treatment  of  Allowed  Administrative 

 Expense  Claims  and  Allowed  Priority  Claims  pursuant  to  sections  507(a)  of  the 

 Bankruptcy Code. 

        N.      Acceptance  by  an  Impaired  Class  (Bankruptcy  Code  section  1129(a)(10)).  

 Both Classes III and IV, the only Impaired Classes under the Plan, voted to accept the 

 Plan (determined without including any acceptances of the Plan by any “insider” as that 

 term  is  defined  in  section  101(31)  of  the  Bankruptcy  Code)  and,  therefore,  section 

 1129(a)(10) is satisfied. 

        O.      Feasibility (Bankruptcy Code section 1129(a)(11)).  As required by section 

 1129(a)(11) of the Bankruptcy Code, it has been established that the Plan is feasible and 

 that confirmation of the Plan is not likely to be followed by the liquidation or the need 

 for further financial reorganization of the Estate other than as provided for in the Plan. 

        P.      Payment  of  Fees  (Bankruptcy  Code  section  1129(a)(12)).    As  required  by 

 section 1129(a)(12) of the Bankruptcy Code, all fees payable pursuant to 28 U.S.C. § 1930 




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 have  been  paid  by  the  Trustee  or  shall  be  paid  by  the  Plan  Administrator  after  the 

 Effective Date. 

          Q.   Transfers  in  Compliance  with  Applicable  Non‐Bankruptcy  Law 

 (Bankruptcy Code section 1129(a)(16).  The proposed transfers of all or substantially all 

 of  the  Debtor’s  assets  in  accordance  with  the  provisions  of  the  Plan  satisfy  the 

 requirements set forth in sections 510 and 511, and otherwise in Article V, of the New 

 York Not‐for‐Profit Corporation Law (to the extent applicable to the Debtor) and have 

 been approved by the New York State Attorney General, Charities Bureau (“NYSAG”). 

 Accordingly, the Plan satisfies section 1129(a)(16) of the Bankruptcy Code. 

          R.   Inapplicable  Sections.    Sections  1129(a)(6),  (13),  (14),  and  (15)  of  the 

 Bankruptcy Code are not applicable to this Chapter 11 Case. 

          S.   Principal Purpose of Plan (Bankruptcy Code section 1129(d)).  The Court 

 finds that the primary purpose of the Plan is not the avoidance of taxes or the avoidance 

 of the application of section 5 of the Securities Act of 1933, as amended (15 U.S.C. § 77e).  

 No party that is a governmental unit, or any other entity, has requested that the Court 

 decline to confirm the Plan on the ground that the principal purpose of the Plan is the 

 avoidance of taxes or the avoidance of the application of section 5 of the Securities Act of 

 1933. 




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 V.     The Sales and Grants 

        T.      Notice of Sales and Grants.  As evidenced by the affidavits of service filed 

 with  the  Court  [ECF  Nos.  443,  444,  455  and  454],  and  based  on  the  representations  of 

 counsel at the Confirmation Hearing, (i) proper, timely, adequate and sufficient notice of 

 the  transactions  contemplated  by  the  Purchase  Agreements  and  Grant  Agreements 

 between the Trustee, on the one hand, and MiracleFeet and ReSurge International, each 

 respectively,  on  the  other  (collectively,  the  “Purchasers”),  has  been  provided  to  such 

 parties  in  interest  as  having  been  directed  by  the  Bankruptcy  Court,  the  NYSAG,  the 

 Office  of  the  Attorney  General  of  the  State  of  Delaware,  and  such  other  persons  as 

 required by the Bankruptcy Court in accordance with sections 102(1), 363, 365, 541, and 

 1146(c) of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, and 9014, and no 

 other or further notice of the Transactions is required. 

        U.      Good Faith Purchasers. Based on the record before the Court in this Case, 

 each  of  Purchasers  exercised  and  acted  in  good  faith  in  the  negotiation,  purchase  and 

 acceptance of the Purchased Assets and Restricted Funds pursuant to the terms of (and 

 as defined in) the Purchase Agreements and Grant Agreements and are thus entitle to the 

 protections  afforded  by  section  363(m)  of  the  Bankruptcy  Code  and  the  release  and 

 injunction  hereinafter  provided.    As  the  Transactions  are  non‐collusive,  fair  and 

 reasonable, conducted in good faith, and have been bargained for and undertaken by the 

 Trustee and Purchasers at arms’ length and without collusion, the Transactions approved 



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 by this Order are not subject to avoidance pursuant to Section 363(n) of the Bankruptcy 

 Code. 

          V.    Privacy  Policies.    Each  of  Purchaser’s  Privacy  Policies  (as  defined  and 

 reflected on Exhibit C to the Purchase Agreements contained in the Plan Supplement) are 

 consistent with the Debtor’s privacy policy regarding the use of “personally identifiable 

 information” as defined in Section 101(41A) of the Bankruptcy Code.   

 VI.      The Plan Settlements 

          W.    The HMS Settlement.  The HMS Settlement (as defined below) is:  (i) fair 

 and equitable;  (ii) in the best interest of the Estate, and (iii) falls well above the lowest 

 point in the range of reasonableness and, thus, satisfies Bankruptcy Rule 9019 and section 

 1123(b)(3)(A) of the Bankruptcy Code. 

          X.    Good Faith and Contribution of HMS.  Based on the record before the Court 

 in this Case, HMS exercised and acted in good faith in the negotiation and settlement of 

 its claim pursuant to the terms of the Agreement and Term Sheet of Proposed Settlement 

 of HMS Claim Against the Estate of WonderWork, Inc., dated April 4, 2018, a true and 

 accurate copy of which is annexed to the Plan as Exhibit A, (the “HMS Settlement”) and 

 the  Plan,  contributed  significant  value  to  the  Estate  in  connection  with  the  HMS 

 Settlement  necessary  to  the  implementation  of  the  Plan,  and  is  thus  entitled  to  the 

 protections, release and injunction in the HMS Settlement and the Plan.  The settlement 

 and waivers with respect to HMS and HMS’ claims as outlined in the HMS Settlement 



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 are fair and reasonable and have been bargained for and undertaken by the Trustee and 

 HMS at arms’ length and without collusion. The terms of the HMS Settlement have been 

 duly approved by the NYSAG. 

        Y.      The  Thompson  Family  Foundation  Settlement.    The  Thompson  Family 

 Foundation Settlement (as defined below) (together with the HMS Settlement, the “Plan 

 Settlements”) is:  (i) fair and equitable;  (ii) in the best interest of the Estate, and (iii) falls 

 well above the lowest point in the range of reasonableness and, thus, satisfies Bankruptcy 

 Rule 9019 and section 1123(b)(3)(A) of the Bankruptcy Code. 

        Z.      Good  Faith  of  the  Thompson  Family  Foundation.    Based  on  the  record 

 before the Court in this Case, the Thompson Family Foundation exercised and acted in 

 good  faith  in  the  negotiation  and  settlement  of  its  claim  pursuant  to  the  terms  of  the 

 Mutual Release and Settlement Agreement of the Thompson Family Foundation Claim, 

 dated  August  6,  2018  included  in  the  Plan  Supplement  (the  “Thompson  Family 

 Foundation Settlement”), contributed significant value to the Estate thereby and is thus 

 entitled to the protections, releases and injunction therein and hereinafter provided.  The 

 settlement  and  waivers  with  respect  to  the  Thomson  Family  Foundation  Claim  as 

 outlined  in  the  Thompson  Family  Foundation  Settlement  are  fair  and  reasonable  and 

 have  been  bargained  for  and  undertaken  by  the  Trustee  and  the  Thompson  Family 

 Foundation  at  arms’  length  and  without  collusion.  The  Thompson  Family  Foundation 




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 Settlement approved by this Order is not subject to avoidance pursuant to Section 363(n) 

 of the Bankruptcy Code. 

        AA.    Finding  that  the  information  provided  by  the  Disclosure  Statement  is 

 adequate and the Plan is confirmable based upon, inter alia, all of the foregoing the Court 

 HEREBY ORDERS that: 

                                 CONFIRMATION OF PLAN 

               1.      The Plan, as modified herein, is hereby confirmed in accordance with 

 section 1129 of the Bankruptcy Code.  The terms of the Plan are incorporated by reference 

 into  and  are  an  integral  part  of  this  Confirmation  Order  and  the  Trustee,  the  Plan 

 Administrator or the Litigation Trustee, as applicable, are authorized to implement their 

 provisions  and  consummate  the  Plan  without  any  further  authorization  except  as 

 expressly required by the Plan or this Confirmation Order. 

               2.      The form of Notice of Entry of Confirmation Order, substantially in 

 the form annexed hereto as Exhibit 1, is hereby approved. 


                              IMPLEMENTATION OF THE PLAN 

               3.      The  Plan,  the  Sales  and  Grants,  the  Plan  Settlements  and  all  other 

 agreements provided for under the Plan, including all actions, transactions, documents, 

 and  instruments  referred  to  therein,  contemplated  thereunder  or  to  be  executed  and 

 delivered  in  connection  therewith,  and  any  amendments  or  modifications  thereto  in 

 substantial  conformity  therewith  are  hereby  approved  as  set  forth  herein,  and  the 


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 Trustee, the Plan Administrator or the Litigation Trustee, as applicable, are authorized to 

 enter  into  and  to  perform  such  agreements  and  transactions  provided  for  in  the  Plan 

 according to their terms. 

               4.      The Trustee, Plan Administrator or Litigation Trustee, as applicable, 

 are hereby further authorized to enter into, execute, deliver, file and/or implement any 

 documents and instruments substantially consistent with or incidental to the Plan, the 

 Sales and Grants, the Plan Settlements and any nonmaterial amendments, supplements 

 or modifications thereto as may be appropriate, and to take such other steps and perform 

 such other acts as may be necessary, useful or appropriate to implement and effectuate 

 the  Plan  and  this  Confirmation  Order,  including  all  other  related  instruments  and 

 documents reasonably necessary to effectuate same, and to satisfy all other conditions 

 precedent to the implementation and effectiveness of the Plan.   

               5.      Pursuant to section 1141(a) of the Bankruptcy Code, from and after 

 the Effective Date, the Plan shall be binding upon the Debtor, the Trustee, the Liquidation 

 Trustee, the Plan Administrator, the Purchasers, all holders of Claims and any other party 

 in interest in this Chapter 11 Case and their respective successors and assigns, regardless 

 of whether the Claims of such holders or obligations of any party in interest have filed a 

 Proof of Claim in the Chapter 11 Case. 

               6.      Pursuant to section  1146(a) of the  Bankruptcy Code, any  issuance, 

 transfer or exchange of notes or issuance of debt or equity securities under the Plan, the 



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 making or assignment of any lease or sublease, or the making or delivery of any deed or 

 other instrument of transfer under, in furtherance of, or in connection with the Plan, shall 

 not  be  subject  to  any  stamp,  real  estate  transfer,  mortgage  recording,  registration, 

 licensing, sales or similar tax. 

                7.      The Plan Administrator is hereby authorized to make Distributions, 

 and other payments, and to establish, fund, and maintain reserves in accordance with the 

 terms and conditions of the Plan and the agreements contained therein.  Checks issued 

 in respect of Allowed Claims shall be null and void if not negotiated within ninety (90) 

 days after the date of issuance thereof.  Requests for reissuance of any voided check shall 

 be made directly to the Plan Administrator by the holder of the Allowed Claim to whom 

 such check was originally issued on the terms and conditions of the Plan.  

                        APPROVAL OF THE SALES AND GRANTS 
                                                
                8.      Sale of Purchased Assets and Grant of Restricted Funds.  The terms 

 and  conditions  of  the  Purchase  Agreements  and  Grant  Agreements  and  the  sale  and 

 conveyance of the Purchased Assets and Grant of certain of the Restricted Funds to each 

 of the Purchasers, free and clear of all Claims and Liens of any kind or nature to the fullest 

 extent  permissible  under  Section  363(f)  of  the  Bankruptcy  Code,  is  hereby  approved 

 pursuant to Sections 105, 363 and 1129 of the Bankruptcy Code.  The sale of the Purchased 

 Assets  and  Grant  of  the  Restricted  Funds  have  been  duly  approved  by  the  NYSAG.  

 Pursuant  to  the  terms  and  conditions  of  the  Purchase  Agreements  and  the  Grant 



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 Agreements, the Acquired Assets and Restricted Funds may be used by Purchasers for 

 their respective Direct Program Costs and Program Implementation Costs (as defined in 

 the Grant Agreements).  The Trustee or the Plan Administrator, as applicable, are hereby 

 authorized  to  take  such  actions  as  may  be  necessary  to  consummate  the  sale  of  the 

 Acquired Assets and the Grant of the Restricted Funds in accordance with the terms of 

 the Purchase Agreements and Grant Agreements. 

                9.      No  Successor  Liability.    Purchasers  shall  not  be  considered  a 

 successor  to  the  Debtor  or  the  Trustee  by  reason  of  any  theory  of  law  or  equity,  and 

 Purchasers  shall  have  no  liability  for  any  Claim  related  to  the  Debtor,  the  Purchased 

 Assets or the Restricted Funds as a result of any application of successor liability theories.  

 Except  for  the  Assumed  Liabilities  (as  defined  in  the  Purchase  Agreements),  the 

 Purchasers are not, by virtue of the consummation of the Transactions contemplated by 

 the Purchase Agreements and Grant Agreements, assuming, nor shall they be liable or 

 responsible,  as  successors  or  otherwise  (including,  without  limitation,  with  respect  to 

 successor  or  vicarious  liabilities  of  any  kind  or  character),  under  any  theory  of  law  or 

 equity,  for  any  liabilities,  debts,  commitments,  or  obligations  (whether  known  or 

 unknown, disclosed or undisclosed, asserted or unasserted, fixed, contingent, liquidated, 

 unliquidated or otherwise) in any way whatsoever relating to or arising from the Debtor 

 or any of its predecessors or affiliates, the Acquired Assets or the Restricted Funds for 

 periods on or prior to the Closing Date (as defined in the Purchase Agreements) or are to 



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 be observed, paid, discharged, or performed on or prior to the Closing Date, whether the 

 claimant asserting any such liabilities, debts, commitments, or obligations has delivered 

 to the Purchasers a release thereof. 

               10.     Purchasers’  Release.    To  the  greatest  extent  permissible  by  law, 

 except as otherwise specifically provided in this Confirmation Order, upon the closing of 

 the transactions under the Purchase Agreements and Grant Agreements, the Trustee, on 

 behalf of the Debtor and its Estate, any Person or Entity, including, without limitation, 

 the Plan Administrator, the Litigation Trust and the Litigation Trustee, but excluding the 

 NYSAG, and each holder of a Claim against the Debtor and any donor to the Debtor, shall 

 be  deemed  to  forever  release,  waive  and  discharge  each  of  the  Purchasers  and  their 

 respective  predecessors,  successors  and  assigns,  current  officers,  directors,  principals, 

 employees, advisory board members, attorneys and financial advisors from any and all 

 Claims, demands, Causes of Action and the like, arising from or related to the Purchase 

 Agreements, the Grant Agreements, the Plan, the Acquired Assets, the Restricted Funds 

 or the transactions under the Purchase Agreements and Grant Agreements, existing as of 

 the  Effective  Date,  whether  direct  or  derivative,  liquidated  or  unliquidated,  fixed  or 

 contingent,  matured  or  unmatured,  disputed  or  undisputed,  known  or  unknown, 

 foreseen or unforeseen, at law, in equity or otherwise;  provided, however, such release, 

 waiver and discharge shall not operate as a release, waiver or discharge of any Purchasers 




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 of any Claims of the Trustee for Purchaser’s breach of its obligations under the Purchase 

 Agreements or Grant Agreements.  

               11.     Injunction Against Actions Against Purchasers.  Upon the closing of 

 the transactions under the Purchase Agreements and Grant Agreements, other than the 

 Plan Administrator and, to the extent applicable pursuant to the Plan and the Litigation 

 Trust Agreement, the Litigation Trust and the Litigation Trustee, all Persons, including 

 without  limitation,  each  holder  of  a  Claim  against  the  Debtor  and  any  donor  to  the 

 Debtor, will be permanently enjoined from asserting any Claim against the Purchasers 

 related  to  the  Debtor,  the  Purchase  Agreements,  the  Grant  Agreements,  the  Plan,  the 

 Purchased  Assets,  the  Restricted  Funds  or  the  transactions  under  the  Purchase 

 Agreements and Grant Agreements existing as of the Effective Date.  

               12.     Waiver  of  14‐Day  Stay.    Notwithstanding  the  provisions  of 

 Bankruptcy Rules 3020(e), 6004(h) or 7062 or any applicable provisions of the Local Rules, 

 this Order shall not be stayed after the entry hereof, but shall be effective and enforceable 

 immediately  upon  entry,  and  the  14‐day  stay  provided  in  Bankruptcy  Rule  3020(e), 

 6004(h) and 7062 is hereby expressly waived and shall not apply.   

                     APPROVAL OF THE PLAN SETTLEMENTS 
                                      
        The HMS Settlement 
  
               13.     Approval  of  the  HMS  Settlement  Agreement.    The  terms  and 

 conditions of the HMS Settlement Agreement, and the settlement, waivers, releases and 



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 injunctions provided thereby are hereby approved pursuant to Sections 105, 363 and 1129 

 of the Bankruptcy Code and Rule 9019 of the Bankruptcy Rules.  The Trustee or the Plan 

 Administrator,  as  applicable,  is  hereby  authorized  to  take  such  actions  as  may  be 

 necessary  to  consummate  the  terms  of  the  HMS  Settlement  in  connection  with 

 consummation of the Plan.  The HMS Settlement approved by this Order is not subject to 

 avoidance pursuant to Section 363(n) of the Bankruptcy Code. 

                14.     No Successor Liability.  HMS shall not be considered a successor to 

 the Debtor or the Trustee by reason of any theory of law or equity, and HMS shall have 

 no liability for any Claim related to the Debtor or the Restricted Funds as a result of any 

 application of successor liability theories.  HMS is not, by virtue of the consummation of 

 the HMS Settlement and the receipt and acceptance of Restricted Funds, assuming, nor 

 shall  it  be  liable  or  responsible,  as  the  successor  or  otherwise  (including,  without 

 limitation,  with  respect  to  successor  or  vicarious  liabilities  of  any  kind  or  character), 

 under any theory of law or equity, for any liabilities, debts, commitments, or obligations 

 (whether  known  or  unknown,  disclosed  or  undisclosed,  asserted  or  unasserted,  fixed, 

 contingent, liquidated, unliquidated or otherwise) in any way whatsoever relating to or 

 arising from the Debtor or any of its predecessors or affiliates, the Restricted Funds for 

 periods on or prior to the Effective Date or are to be paid, discharged, or performed on 

 or prior to the Effective Date, whether the claimant asserting any such liabilities, debts, 

 commitments, or obligations has delivered to HMS a release thereof. 



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          The Thompson Family Foundation Settlement 

                15.    Approval  of  the  Thompson  Family  Foundation  Settlement.    The 

 terms  and  conditions  of  the  Thompson  Family  Foundation  Settlement,  and  the 

 settlement,  waivers,  releases  and  injunctions  provided  thereby  are  hereby  approved 

 pursuant to Sections 105 and 1129 of the Bankruptcy Code, Rule 9019 of the Bankruptcy 

 Rules, and the Local Rules.  The terms of the Thompson Family Foundation Settlement 

 have been duly approved by the NYSAG.  The Trustee and/or the Plan Administrator is 

 hereby authorized to take such actions as may be necessary to consummate the terms of 

 the Thompson Family Foundation Settlement. 

                                  PLAN ADMINISTRATOR 

                16.    The  appointment  of  Stephen  S.  Gray,  as  Plan  Administrator,  is 

 hereby approved.  Upon the occurrence of the Effective Date, the Plan Administrator shall 

 be deemed the Estate representative in accordance with section 1123 of the Bankruptcy 

 Code and shall have all powers, authority and responsibilities specified under sections 

 704 and 1106 of the Bankruptcy Code, including those provided in Section 5.9(b) of the 

 Plan. 

                17.    On the Effective Date, the Plan Administrator shall be authorized to 

 issue,  execute  and  deliver  the  agreements,  documents,  securities  and  instruments 

 contemplated  by  the  Plan  (or  necessary  or  desirable  to  effect  the  transactions 

 contemplated  by  the  Plan)  in  the  name  of  and  on  behalf  of  the  Debtor  and  the  post‐



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 Confirmation Estate, including, without limitation, the Litigation Trust Agreement.  The 

 Plan Administrator on behalf of the Estate is hereby authorized take any appropriate or 

 necessary action to dissolve under applicable law.   

                                       CAUSES OF ACTION 

                18.     In accordance with section 1123(b)(3)(B) of the Bankruptcy Code, the 

 Litigation Trust may pursue all reserved rights of action, including, without limitation, 

 all Causes of Action, including Avoidance Actions and D&O Claims and the Causes of 

 Action identified in the Plan Supplement.  Any Distributions provided for in the Plan and 

 the allowance of any Claim for the purpose of voting on the Plan is and shall be without 

 prejudice  to  the  rights  of  the  Litigation  Trustee  to  pursue  and  prosecute  any  and  all 

 Causes of Action. 

                                    THE LITIGATION TRUST 

                19.     The formation of the Litigation Trust pursuant to Article IX of the 

 Plan and the Litigation Trust Agreement is approved.  The appointment of Vincent Sama, 

 as  Litigation  Trustee,  is  hereby  approved.    The  Litigation  Trustee  shall  be  deemed  a 

 representative  of  the  Estate  for  purposes  necessary  and  proper  to  carry  out  the 

 enforcement and pursuit of the Litigation Trust Claims on behalf of and in the right of 

 the  Estate.    To  the  extent  that  any  Litigation  Trust  Assets  cannot  be  transferred  to  the 

 Litigation  Trust  because  of  a  restriction  on  transferability  under  applicable  non‐

 bankruptcy law that is not superseded or preempted by section 1123 of the Bankruptcy 



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 Code  or  any  other  provision  of  the  Bankruptcy  Code,  the  Litigation  Trustee  shall  be 

 deemed  to  have  been  designated  as  a  representative  of  the  Estate  pursuant  to  section 

 1123(b)(3)(B) of the Bankruptcy Code to enforce and pursue such Litigation Trust Claims.  

 The Litigation Trustee shall have the powers, rights, duties, protections and obligations 

 as set forth in the Plan and the Litigation Trust Agreement.   

               20.     In  accordance  with  the  terms  and  conditions  of  the  Plan  and  the 

 Litigation  Trust  Agreement,  HMS  shall  serve  as  the  sole  member  of  the  Oversight 

 Committee. 

               21.     On the Effective Date, the Trustee, the Plan Administrator and the 

 Litigation  Trustee  are  hereby  authorized  to  enter  into  the  Litigation  Trust  Agreement 

 pursuant to which the Litigation Trust Assets will be transferred to the Litigation Trust 

 and the Litigation Trust Funds will be advanced to the Litigation Trust.  The Litigation 

 Trustee shall take such actions as may be necessary to implement the Litigation Trust and 

 the terms of the Litigation Trust Agreement in accordance with Article IX of the Plan. 

               22.     To the extent provided in section 1145 of the Bankruptcy Code and 

 under applicable non‐bankruptcy law, the issuance under the Plan of the Litigation Trust 

 Interests will be exempt from registration under the Securities Act of 1933, as amended, 

 and the Investment Company Act of 1940, as amended, pursuant to section 7(a) and 7(b) 

 of that Act, and all rules and regulations promulgated under any of the foregoing. 




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       INJUNCTIONS, EXCULPATION AND RELEASES PROVIDED IN PLAN 

               23.      The  injunction,  release  and  exculpation  provisions  as  set  forth  in 

 Article XIII of the Plan are consistent with section 1123(b) of the Bankruptcy Code and 

 are hereby approved and confirmed in all respects and shall be enforceable for the benefit 

 of the Trustee, the Released Parties (as defined in Paragraph 28 herein), the Exculpated 

 Parties, and the Debtor and its Estate, as applicable. 

        Injunctions  

               24.      As  set forth in Section 13.3(a) of the Plan,  and as modified  herein, 

 except as specifically otherwise provided in the Plan or Confirmation Order, upon the 

 Effective Date all Persons shall be enjoined from commencing or continuing any judicial 

 or administrative proceeding, employing any process, or taking any action whatsoever 

 against the Debtor, the Estate, the Trustee, the Plan Administrator, the Litigation Trust, 

 the Litigation Trustee, the Oversight Committee, or the Released Parties that interferes 

 with the consummation and implementation of (i) the Plan, (ii) the Sales, (iii) the Grants, 

 (iv) the Litigation Trust, the Litigation Trust Agreement or the Litigation Trust Assets, (v) 

 the HMS Settlement Agreement or the Thompson Family Foundation Settlement, or (vi) 

 the transfers, payments and Distributions to be made in accordance with the Plan and the 

 Litigation Trust Agreement.   

               25.      As set forth in Section 13.3(b) of the Plan, on and after the Effective 

 Date, all Persons (other than the Litigation Trustee or Plan Administrator, as applicable) 



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 shall be permanently enjoined from commencing or continuing in any manner any action 

 or proceeding (whether directly, indirectly, derivatively or otherwise) on account of, or 

 respecting any, Claim, debt, right or Cause of Action that the Plan Administrator, or the 

 Litigation Trust and the Litigation Trustee retains authority to pursue in accordance with 

 the Plan and the Litigation Trust Agreement. 

                26.     As  set  forth  in  Section  13.3(c)  of  the  Plan,  except  as  otherwise 

 specifically provided for by the Plan, as of the Effective Date, all holders of Claims shall 

 be enjoined from taking any of the following actions in respect to any such Claims:  (i) the 

 commencement  or  continuation  of  any  action  or  proceedings  against  the  Debtor,  the 

 Estate, the Trustee, the Plan Administrator, the Litigation Trust, the Litigation Trustee, or 

 the Oversight Committee or their respective property;  (ii) the enforcement, attachment, 

 collection or recovery by any manner or means of any judgment, award, decree, or order 

 against the Debtor, the Estate, the Trustee, the Plan Administrator, the Litigation Trust, 

 the Litigation Trustee, or the Oversight Committee or their respective property;  (iii) the 

 creation, perfection or enforcement of any encumbrance of any kind against the Debtor, 

 the  Estate,  the  Trustee,  the  Plan  Administrator,  the  Litigation  Trust,  the  Litigation 

 Trustee,  or  the  Oversight  Committee;    and/or  (iv) the  assertion  of  any  right  of  setoff, 

 subrogation or recoupment of any kind against any obligation due from any such entity 

 to the Debtor, the Estate, the Trustee, the Plan Administrator, the Litigation Trust, the 

 Litigation Trustee, or the Oversight Committee. 



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        Exculpation Provision  

                27.     As provided in Section 13.4 of the Plan, to the extent consistent with 

 section 1125(e) of the Bankruptcy Code, except as otherwise specifically provided in the 

 Plan including Section 13.7, no Exculpated Party shall have or incur, and each Exculpated 

 Party is hereby released and exculpated from, any Exculpated Claim, or obligation, cause 

 of action or liability for any Exculpated Claim, and shall be entitled to rely reasonably on 

 the advice of counsel with respect to their duties and responsibilities pursuant to the Plan.  

 Each  Exculpated  Party  and  their  respective  directors,  members,  managers,  officers, 

 employees, advisors and attorneys have, and upon the Effective Date shall be deemed to 

 have, participated in the promulgation of the Plan in good faith and in compliance with 

 the  applicable  provisions  of  the  Bankruptcy  Code  and  applicable  non‐bankruptcy  law 

 and  shall  not  be  liable  at  any  time  for  the  violation  of  any  applicable  law,  rule  or 

 regulation  governing  the  solicitation  of  acceptances  or  rejections  of  the  Plan  or 

 Distributions made pursuant to the Plan.  From and after the Effective Date, a copy of the 

 Confirmation Order and the Plan shall constitute, and may be submitted as, a complete 

 defense to any claim or liability satisfied, enjoined or subject to exculpation pursuant to 

 this Article XIV;  provided, however, that nothing in the Plan or the Confirmation Order 

 shall, or shall be deemed to, release or exculpate the Exculpated Parties with respect to, 

 their  obligations  or  covenants  arising  from  bad  faith,  willful  misconduct,  gross 

 negligence, breach of fiduciary duty, malpractice, fraud, criminal conduct, unauthorized 



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 use of confidential information that causes damages, and/or ultra vires acts.  Upon the 

 Confirmation  Date,  creditors  will  be  unable  to  pursue  any  Claims  that  are  satisfied, 

 enjoined or subject to exculpation under the Plan, but creditors may pursue Claims or 

 claims that may arise in the future, or pursuant to the Plan or Confirmation Order. 

        Release Provisions 

                28.     As set forth  in Section 13.5(a) of  the Plan, and as  modified  herein, 

 except  as  otherwise  specifically  provided  in  the  Plan  including  Section  13.7,  as  of  the 

 Effective Date, the Trustee, on behalf of the Debtor and its Estate, and any Person or Entity 

 seeking  to  exercise  the  rights  of  the  Debtor’s  Estate,  including,  without  limitation,  the 

 Plan Administrator, the Litigation Trust and the Litigation Trustee and any successor to 

 the  Debtor  or  any  estate  representative  appointed  or  selected  pursuant  to  section 

 1123(b)(3)  of  the  Bankruptcy  Code,  shall  be  deemed  to  forever  release,  waive  and 

 discharge  HMS  and  the  Thompson  Family  Foundation  and  any  of  their  predecessors, 

 successors and assigns, current officers, directors, principals, employees, advisory board 

 members,  attorneys,  and  financial  advisors  (the  “Released  Parties”)  from  any  and  all 

 Claims, demands, Causes of Action and the like, arising from or related to this Chapter 

 11 Case or the Debtor and existing as of the Effective Date, whether direct or derivative, 

 liquidated  or  unliquidated,  fixed  or  contingent,  matured  or  unmatured,  disputed  or 

 undisputed, known or unknown, foreseen or unforeseen, at law, in equity or otherwise;  

 provided,  however,  such  release,  waiver  and  discharge  shall  not:  (i)  extend  to  the 



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 Debtor’s current and former officers, directors, principals, employees, agents, advisory 

 board  members,  consultants,  representatives,  attorneys,  and  financial  advisors;  (ii) 

 operate as a release, waiver or discharge of any Released Parties in respect of any express 

 contractual obligation of any such party effective from and after the Effective Date; or (iii) 

 in any way limit the rights of the holders of Claims under the terms of the Plan;  and 

 provided, further, that notwithstanding the foregoing or any other provision of the Plan, 

 nothing in the Plan, any Plan Supplement, or this order shall affect any Causes of Action, 

 Claims,  or  counter‐Claims  that  may  be  asserted  by  the  Plan  Administrator  or  the 

 Litigation Trustee in connection with an objection to a Claim that has not been Allowed, 

 in each case as determined by the Bankruptcy Court. 

                29.     As  set  forth  in  Section  13.5(b)  of  the  Plan  and  as  modified  herein, 

 except  as  otherwise  specifically  provided  in  the  Plan  including  Section  13.7,  as  of  the 

 Effective Date, each holder of a Claim against the Debtor, including, but not limited to 

 HMS, shall be deemed to forever release, waive and discharge the Released Parties from 

 any and all Claims, demands, Causes of Action and the like, arising from or related to 

 this  Chapter  11  Case  or  the  Debtor  and  existing  as  of  the  Effective  Date,  whether 

 liquidated  or  unliquidated,  fixed  or  contingent,  matured  or  unmatured,  disputed  or 

 undisputed, known or unknown, foreseen or unforeseen, at law, in equity or otherwise;  

 provided,  however,  such  release,  waiver  and  discharge  shall  not:  (i)  extend  to  the 

 Debtor’s current and former officers, directors, principals, employees, agents, advisory 



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 board  members,  consultants,  representatives,  attorneys,  and  financial  advisors;  (ii) 

 operate as a release, waiver or discharge of any Released Parties in respect of any express 

 contractual obligation of any such party effective from and after the Effective Date; or (iii) 

 in any way limit the rights of the holders of Claims under the terms of the Plan;  and 

 provided, further, that notwithstanding the foregoing or any other provision of the Plan, 

 nothing in the Plan, any Plan Supplement, or this order shall affect any Causes of Action, 

 Claims,  or  counter‐Claims  that  may  be  asserted  by  the  Plan  Administrator  or  the 

 Litigation Trustee in connection with an objection to a Claim that has not been Allowed, 

 in each case as determined by the Bankruptcy Court. 

        Limitations on Injunctions, Exculpation and Release Provisions 

               30.     As  provided  for  in  Section  13.7  of  the  Plan,  notwithstanding 

 anything to the contrary contained in the Plan or herein, the Plan shall not exculpate or 

 release, or provide injunctive protection to, any Person or Entity identified in the Plan 

 Supplement as a potential defendant to a Cause of Action which shall include, without 

 limitation,  all  of  the  Debtor’s  current  and  former  directors,  officers,  principals, 

 employees,  agents,  advisory  board  members,  consultants,  representatives,  attorneys, 

 financial advisors and insurers. 

               31.     As provided in Section 13.8 of the Plan, the provisions of the Plan, 

 including,  without  limitation,  the  injunctive  provisions  contained  in  Article  XIII  and 

 herein, shall not diminish or impair in any manner the enforceability and/or coverage of 



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 any insurance policies (and any agreements, documents, or instruments relating thereto) 

 that may cover Claims, including Claims against any directors, trustees or officers of the 

 Debtor, or any other Person. 

                                  EXECUTORY CONTRACTS 

                32.     In accordance with Article VIII of the Plan, effective on the Effective 

 Date,  all  Executory  Contracts  are  hereby  specifically  deemed  rejected,  except  for  any 

 Executory Contract (a) that has been specifically assumed, or assumed and assigned, by 

 the Debtor or Trustee on or before the Confirmation Date with the approval of the Court, 

 (b) in respect of which a motion for assumption or assumption and assignment has been 

 filed  with  the  Court  on  or  before  the  Confirmation  Date,  or  (c) that  is  specifically 

 designated as a contract to be assumed on a schedule to be included as part of the Plan 

 Supplement. 

                33.     Claims against the Debtor arising out of the rejection of Executory 

 Contracts pursuant to the Plan must be filed with the Court no later than forty‐five (45) 

 days after the later of service of (a) notice of entry of an order approving the rejection of 

 such Executory Contract which Order may be the Confirmation Order, and (b) notice of 

 occurrence of the Effective Date.  Any such Claims not filed within such time shall be 

 forever  barred  from  assertion  against  the  Estate,  and  any  and  all  of  the  Assets  of  the 

 Estate. 




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                      ADMINISTRATIVE CLAIMS, PRIORITY TAX  
                  CLAIMS, AND COMPENSATION OF PROFESSIONALS 

        Administrative Expense Claims 

               34.    Each holder of an Administrative Expense Claim is required to file a 

 proof of Administrative Expense Claim within thirty (30) days after the Effective Date.  

 Nothing herein extends any Bar Date previously established by the Bankruptcy Court.  

 Any request for payment of an Administrative Expense Claim that is not timely filed as 

 set forth above shall be forever barred, and holders of such Claims shall not be able to 

 assert such Claims in any manner against the Debtor, the Estate, the Litigation Trust, the 

 Litigation  Trustee,  the Trustee, the Plan Administrator or the Oversight Committee  or 

 any  of  the  foregoing  parties’  accountants,  advisors,  agents,  attorneys,  consultants, 

 directors, employees, members, officers, or representatives. 

               35.    The Plan Administrator shall have ninety (90) days after the Effective 

 Date to file objections, if any, to Administrative Expense Claims and serve such objections 

 upon the holder of the affected Claim.  The Trustee shall have the right to seek authority 

 from the Court to extend the dates for filing and serving the objections to the holders of 

 such Claims.  

               36.    Except  to  the  extent  that  any  entity  entitled  to  payment  of  an 

 Allowed Administrative Expense Claim agrees to a different treatment (including HMS 

 in  respect  of  the  HMS  Substantial  Contribution  Claim),  each  holder  of  an  Allowed 

 Administrative  Expense  Claim  (other  than  Administrative  Expense  Claims  that  have 


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 already been satisfied prior to the Effective Date in the ordinary course of business or 

 pursuant  to  Final  Order  of  the  Bankruptcy  Court)  shall  receive  Cash  from  the  Plan 

 Distribution Fund in an amount equal to such holder’s Allowed Administrative Expense 

 Claim on or about the Effective Date, or as soon as practicable after the Administrative 

 Expense Claim becomes an Allowed Administrative Expense Claim;  provided, however, 

 the Plan Administrator shall be responsible for the satisfaction of United States Trustee 

 Fees arising under 28 U.S.C. § 1930 and 31 U.S.C. § 3717 from the Effective Date through 

 the  entry  of  a  final  decree  closing,  dismissing  of,  or  converting  the  Chapter  11  Case;  

 provided, further, under  the HMS Settlement, HMS has agreed that any HMS Substantial 

 Contribution Claim, to the extent allowed by the Bankruptcy Court, (i) shall not receive 

 any  payment  from  the  Plan  Distribution  Fund,  and  (ii) shall  receive  a  Litigation  Trust 

 Interest which will be subordinated to other holders of Litigation Trust Interests and only 

 receive a Distribution on account of such Litigation Trust Interest after all other holders 

 of Litigation Trust Interests have been paid in full pursuant to the terms and conditions 

 of the Litigation Trust Agreement. 

        Priority Tax Claims 

                37.     Except to the extent that the Plan Administrator determines to make 

 payments  to  the  holder  of  a  Priority  Tax  Claim  in  accordance  with  the  provisions  of 

 section 1129(a)(9)(C) of the Bankruptcy Code, or the holder of an Allowed Priority Tax 

 Claim has been satisfied prior to the Effective Date or agrees to a different treatment, the 



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 Plan Administrator shall pay to each holder of an Allowed Priority Tax Claim, in full and 

 complete settlement, satisfaction and discharge of its Allowed Priority Tax Claim, Cash 

 in an amount equal to such Allowed Priority Tax Claim on the date such Priority Tax 

 Claim  becomes  an  Allowed  Priority  Tax  Claim,  or  as  soon  as  is  practicable  thereafter, 

 with interest as may be required by the Bankruptcy Code and provided under applicable 

 non‐bankruptcy law. 

        Professional Fee Claims 

                38.     All Persons and Entities seeking an allowance of their Professional 

 Fee  Claim  for  services  rendered  and  expenses  incurred  through  and  including  the 

 Confirmation Date under sections 330 or 331 of the Bankruptcy Code (a) shall, except to 

 the extent such fees have previously been approved by a Final Order, file their respective 

 applications  for  allowance  of  their  Professional  Fee  Claim  by  not  later  than  thirty  (30) 

 from after the Effective Date or such other date as may be fixed by the Bankruptcy Court, 

 and (b) to the extent granted, the Allowed Professional Fee Claim shall be paid by the 

 Plan Administrator in full, in Cash, in such amounts as are Allowed by the Bankruptcy 

 Court, first from the Allocated Restricted Funds and thereafter from the Plan Distribution 

 Fund:  (i) on the date upon which such Professional Fee Claim becomes an Allowed Claim 

 or as soon thereafter as is practicable;  (ii) upon such terms as may be mutually agreed 

 upon  between  the  holder  of  an  Allowed  Professional  Fee  Claim  and  the  Plan 




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 Administrator,  or  (iii)  in  accordance  with  the  terms  and  conditions  of  any  applicable 

 order entered by the Bankruptcy Court. 

                               RETENTION OF JURISDICTION 

                39.     Notwithstanding  the  entry  of  this  Confirmation  Order  and  the 

 occurrence of the Effective Date, the Bankruptcy Court shall retain jurisdiction over all 

 matters set forth in Article XII of the Plan.  For avoidance of doubt, the Bankruptcy Court 

 shall  retain  jurisdiction  to  determine  (i)  the  Allowed  amount  of  the  HMS  Substantial 

 Contribution Claim and (ii) in accordance with Section 8.1(c) of the Plan, to estimate the 

 amount to be reserved in the Disputed Claim Reserve in respect of any Disputed Claims.   

                                   GENERAL PROVISIONS 

                40.     The Plan is incorporated in full herein.  Failure to include or refer to 

 particular sections or provisions of the Plan or any related agreement in this Confirmation 

 Order  shall  not  diminish  or  impair  the  effectiveness  of  such  sections  or  provisions,  it 

 being the intent of the Court that the Plan be confirmed and such related agreements be 

 approved in their entirety. 

                41.     Upon the date a final decree is entered in the Chapter 11 Case, the 

 Debtor will be deemed dissolved under applicable non‐bankruptcy law without further 

 Order of the Court or any other court 

                42.     Any injunctions or stays provided for in the Chapter 11 Case under 

 sections  105  or  362  of  the  Bankruptcy  Code,  or  otherwise,  and  in  existence  on  the 




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 Confirmation  Date,  shall  remain  in  full  force  and  effect  until  the  Plan  has  been  fully 

 performed. 

                43.     The  provisions  of  this  Confirmation  Order  are  non‐severable  and 

 mutually dependent. 

                44.      To the extent of any inconsistency between the terms of the Plan and 

 this Confirmation Order, the terms of this Confirmation Order shall govern. 

  
 Dated:     New York, New York 
            September 21, 2018 
                                                        s/ Mary Kay Vyskocil
                                                       Honorable Mary Kay Vyskocil 
                                                       United States Bankruptcy Judge 
  




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                          EXHIBIT 1 
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                                                                                               Exhibit 1
 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
                                                                :
 In re:                                                         :   Chapter 11
                                                                :
 WONDERWORK, INC.,                                              :   Case No. 16-13607 (MKV)
                                                                :
                                        Debtor.                 :
                                                                :
 ---------------------------------------------------------------X

         NOTICE OF: (I) ENTRY OF ORDER CONFIRMING THE TRUSTEE’S
        AMENDED CHAPTER 11 PLAN; AND (II) ESTABLISHING DEADLINES
      FOR FILING (A) ADMINISTRATIVE EXPENSE CLAIMS, (B) PROFESSIONAL
        FEE CLAIMS, AND (C) EXECUTORY CONTRACT REJECTION CLAIMS

 A.      TRUSTEE’S CHAPTER 11 PLAN CONFIRMED

               PLEASE TAKE NOTICE that, on _____ __, 2018 (the “Confirmation
 Date”), the Bankruptcy Court entered an Order [Docket No. ___] (the “Confirmation
 Order”) confirming the Amended Chapter 11 Plan of Liquidation for the Bankruptcy Estate of
 WonderWork, Inc. as Proposed by the Chapter 11 Trustee, dated August 8, 2018 [Docket No.
 435] (the “Plan”).

               PLEASE TAKE FURTHER NOTICE that copies of the Plan and the
 Confirmation Order are available on the Court’s website at http://www.ecf
 .nysb.uscourts.gov. Further information may be obtained by calling Trustee’s counsel
 at (212) 594-5000 (Attn: Ms. Denise Cahir).

 B.      ADMINISTRATIVE CLAIMS BAR DATE

               PLEASE TAKE FURTHER NOTICE that, except for Professional Fee
          1
 Claims and United States Trustee quarterly fees, all Persons and Entities including, but
 not limited to, individuals, partnerships, corporations, estates, trusts and governmental
 units holding Administrative Expense Claims against the Estate must file a request for
 allowance of such Administrative Expense Claims within thirty (30) days after the
 occurrence of the Effective Date (the “Administrative Claims Bar Date”). The Trustee
 shall provide notice of the Effective Date promptly upon its occurrence. Requests for
 payment of Administrative Expense Claims, together with supporting documentation,
 must be filed with the Bankruptcy Court and the original delivered by first-class mail,
 overnight delivery or hand delivery so as to be received, no later than the



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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
      the Plan.
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 Administrative Claims Bar Date, by Trustee’s counsel, Togut, Segal & Segal LLP, One
 Penn Plaza, Suite 3335, New York, NY 10119 (Attn: Ms. Denise Cahir).

 C.    PROFESSIONAL FEE CLAIM BAR DATE

               PLEASE TAKE FURTHER NOTICE that all Persons and Entities seeking
 an allowance of their Professional Fee Claim for services rendered and expenses
 incurred through and including the Confirmation Date under sections 330 or 331 of the
 Bankruptcy Code shall file their respective applications for allowance of their
 Professional Fee Claim by not later than the date which is thirty (30) days after the
 occurrence of the Effective Date or such other date as may be fixed by the Bankruptcy
 Court for services rendered through the Confirmation Date (the “Professional Fee
 Claims Bar Date”). Applications for payment of Professional Fee Claims, together with
 supporting documentation, must be filed with the Bankruptcy Court and the original
 delivered by first-class mail, overnight delivery or hand delivery so as to be received, no
 later than the Professional Fee Claims Bar Date, by Trustee’s counsel, Togut, Segal &
 Segal LLP, One Penn Plaza, Suite 3335, New York, NY 10119 (Attn: Ms. Denise Cahir).

 D.    EXECUTORY CONTRACT REJECTION BAR DATE
               PLEASE TAKE FURTHER NOTICE that Claims against the Estate arising
 out of the rejection of Executory Contracts pursuant to the Plan (“Executory Contract
 Rejection Claims”), if any, must be filed with the Court no later than forty-five (45)
 days after the later of service of (a) notice of entry of an order approving the rejection
 of such Executory Contract which Order may be the Confirmation Order, and
 (b) notice of occurrence of the Effective Date (the “Executory Contract Rejection Bar
 Date”). Requests for payment of Executory Contract Rejection Claims, together with
 supporting documentation, must be filed with the Bankruptcy Court and the original
 delivered by first-class mail, overnight delivery or hand delivery so as to be received, no
 later than the Executory Contract Rejection Bar Date, by Trustee’s counsel, Togut, Segal
 & Segal LLP, One Penn Plaza, Suite 3335, New York, NY 10119 (Attn: Ms. Denise
 Cahir).
          HOLDERS     OF    ADMINISTRATIVE    EXPENSE  CLAIMS,
 PROFESSIONAL FEE CLAIMS, AND EXECUTORY CONTRACT REJECTION
 CLAIMS WHO FAIL TO FILE A TIMELY REQUEST FOR THE ALLOWANCE OF
 SUCH CLAIMS SHALL BE FOREVER BARRED, ESTOPPED AND ENJOINED
 FROM ASSERTING SUCH CLAIMS AGAINST THE ESTATE AND SUCH
 CLAIMANTS SHALL NOT BE ENTITLED TO ANY DISTRIBUTIONS ON
 ACCOUNT OF SUCH CLAIMS UNDER THE PLAN OR OTHERWISE FROM THE
 ESTATE.

           PLEASE TAKE FURTHER NOTICE THAT ALL REQUESTS OR
 APPLICATIONS FOR ALLOWANCE OF ADMINISTRATIVE EXPENSE CLAIMS,
 PROFESSIONAL FEE CLAIMS, OR EXECUTORY CONTRACT REJECTION
 CLAIMS MUST BE SUBMITTED IN A FORM CONSISTENT WITH THE
 BANKRUPTCY CODE, THE BANKRUPTCY RULES AND THE LOCAL RULES OF
 BANKRUPTCY PROCEDURE FOR THE SOUTHERN DISTRICT OF NEW YORK.


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         PLEASE TAKE FURTHER NOTICE THAT THE PLAN AND
 CONFIRMATION ORDER CONTAIN OTHER PROVISIONS THAT MAY AFFECT
 YOUR RIGHTS. YOU ARE ENCOURAGED TO REVIEW THE PLAN AND
 CONFIRMATION ORDER IN THEIR ENTIRETY.

                                    STEPHEN S. GRAY,
 Dated: ____ __, 2018                Not Individually But Solely in
        New York, New York           His Capacity as Chapter 11 Trustee,
                                    By his Counsel:


                                    [DRAFT]
                                    TOGUT, SEGAL & SEGAL LLP
                                    Scott E. Ratner
                                    One Penn Plaza, Suite 3335
                                    New York, New York 10119
                                    (212) 594-5000




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